               Case 5:23-po-00035-CDB Document 4 Filed 03/03/23 Page 1 of 2



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 6 Attorneys for Plaintiff
   UNITED STATES OF AMERICA
 7

 8
                                        UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                         Case No. 5:23-po-00035-CDB
12                         Plaintiff,                  [Citation #7056017, CA/3F]
13   v.
14   DAISHAUNA CRENSHAW,                               MOTION AND ORDER FOR DISMISSAL
15                         Defendant.
16

17

18          The United States of America, by and through Phillip A. Talbert, United States Attorney, and

19 Chan Hee Chu, Special Assistant United States Attorney, hereby moves to dismiss Case No. 5:23-po-
20 00035-CDB [Citation #7056017, CA/3F] against DAISHAUNA CRENSHAW, without prejudice, in the

21 interest of justice, pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure.

22

23 DATED: March 3, 2023                                  Respectfully submitted,
24                                                       PHILLIP A. TALBERT
                                                         United States Attorney
25
                                                 By:     /s/ Chan Hee Chu
26                                                       CHAN HEE CHU
                                                         Special Assistant United States Attorney
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29                                                                                     USA v. Crenshaw
                                                                             Case No. 5:23-po-00035-CDB
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 1

 2                                            ORDER
 3

 4         IT IS HEREBY ORDERED that Case No. 5:23-po-00035-CDB [Citation #7056017, CA/3F]
 5 against DAISHAUNA CRENSHAW be dismissed, without prejudice, in the interest of justice.

 6 IT IS SO ORDERED.

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       Dated:    March 3, 2023                         ___________________              _
 8                                               UNITED STATES MAGISTRATE JUDGE
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29                                                                              USA v. Crenshaw
                                                                      Case No. 5:23-po-00035-CDB
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